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                                  UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,

                                                                    NO. 24-CR-10259-DJC
          v.

MATTHEW FARWELL,

Defendant.

                                  ORDER ON EXCLUDABLE DELAY


KELLEY, U.S.M.J.


          Defendant had an initial appearance and was arraigned today, August 28, 2024. An initial

status conference is scheduled for October 17, 2024 at 11:30 a.m

          The court finds that the interests of justice in this case, i.e., to allow defendant time to prepare

the case for trial or other disposition, outweigh the best interests of the public and defendant for a trial

within seventy days of the date of indictment. Accordingly, with the agreement of the parties, it is

hereby ORDERED that, pursuant to the provisions of 18 U.S.C. § 3161(h)(7)(A), the Clerk of this

Court enter excludable time for the period from August 30, 2024, up to and including October 17,

2024. 1


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  The parties are hereby advised that under the provisions of Rule 2(b) of the Rules for United States
Magistrates in the United States District Court for the District of Massachusetts, any party may move for
reconsideration by a district judge of the determination(s) and order(s) set forth herein within fourteen (14)
days after receipt of a copy of this order, unless a different time is prescribed by this court or the district
judge. The party seeking reconsideration shall file with the Clerk of this Court, and serve upon all parties, a
written notice of the motion which shall specifically designate the order or part thereof to be reconsidered
and the basis for the objection thereto. The district judge, upon timely motion, shall reconsider the magistrate
judge's order and set aside any portion thereof found to be clearly erroneous in fact or contrary to law. The
parties are further advised that the United States Court of Appeals for this Circuit has indicated that failure to
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                                                         /s/ M. Page Kelley
                                                         M. PAGE KELLEY
                                                         United States Magistrate Judge




comply with this rule shall preclude further appellate review. See Phinney v. Wentworth Douglas Hospital,
199 F.3d 1 (1st Cir. 1999); Sunview Condo. Ass’n v. Flexel Int’l, 116 F.3d 962 (1st Cir. 1997); Pagano v.
Frank, 983 F.2d 343 (1st Cir. 1993).

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